              4:22-bk-10799 Doc#: 109 Filed: 03/01/23 Entered: 03/01/23 14:36:39 Page 1 of 2




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF ARKANSAS
                                            CENTRAL DIVISION


             IN RE: KAREN D. EASTER                                                  Case No. 4:22-bk-10799J
                                                                                                 (Chapter 13)
                                   Debtor.


                                           ORDER AWARDING DAMAGES

                     Pending before the Court is the Motion for Sanctions and Damages Against Creditor

             America’s Car-Mart, Inc. for Violation of 11 U.S.C. § 362 (Doc. No. 58) filed by the Debtor,

             Karen D. Easter against America’s Car-Mart, Inc. d/b/a Car-Mart of Little Rock (“Car-Mart”).

             Car-Mart was given notice of the motion, along with a notice of opportunity to object. (See Doc.

             No. 79). No objection was filed by Car-Mart. On January 10, 2023, the Court entered an order

             (Doc. No. 86) finding that Car-Mart violated the automatic stay and reserving ruling on sanctions

             and damages until a future hearing.

                     A hearing on damages was later scheduled for February 28, 2023. Car-Mart was given

             notice of the hearing on damages but did not appear. The Debtor appeared in person and by and

             through her attorney, Matthew David Mentgen. At the conclusion of the hearing, the Court

             issued its oral ruling from the bench, which is incorporated herein by reference. For the reasons

             stated in open court, Car-Mart’s violation of the stay was a willful violation and the Debtor has

             incurred actual damages in the amount of $20,000.00 (comprised of $4,500.00 in lost equity in

             the subject vehicle; $3,000.00 in transportation costs; $10,500.00 in lost wages; and $2,000.00 in

             attorney’s fees). In addition, for the reasons stated in open court, punitive damages are awarded

             against Car-Mart in favor of the Debtor in the amount of $25,000.00.




EOD: March 1, 2023
4:22-bk-10799 Doc#: 109 Filed: 03/01/23 Entered: 03/01/23 14:36:39 Page 2 of 2




       Car-Mart shall pay $45,000.00 to the Debtor, through her attorney, Matthew David

Mentgen, at P.O. Box 164439, Little Rock, AR 72216, no later than March 15, 2023.

       IT IS SO ORDERED.



                                                 Phyllis M. Jones
                                                 United States Bankruptcy Judge
                                                 Dated: 03/01/2023




Cc:    Counsel for Debtor
       Debtor
       Chapter 13 Trustee
       U.S. Trustee

       Americas Car-Mart, Inc.
       1805 N. 2nd St., Ste. 401
       Rogers, AR 72756

       Americas Car-Mart, Inc.
       Attn: Nancy DeShields, Bankruptcy Admin
       1805 N. 2nd St., Ste. 401
       Rogers, AR 72756

       Car-Mart, Inc.
       Attn: Bill Fleeman, President
       1805 N. 2nd St., Ste. 401
       Rogers, AR 72756

       Car-Mart, Inc.
       Attn: John R. Scott, Registered Agent
       318 West Poplar Street
       Rogers, AR 72756

       Car-Mart of Little Rock
       5900 S. University Ave.
       Little Rock, AR 72209
